Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 1 of 41 PageID #:257




                   EXHIBIT H
                Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 2 of 41 PageID #:258


      Generated on: This page was generated by TSDR on 2017-06-18 21:33:20 EDT
               Mark: ONEUP TRADER




  US Serial Number: 87091783                                                      Application Filing Jul. 01, 2016
                                                                                              Date:
  Filed as TEAS RF: Yes                                                         Currently TEAS RF: Yes
            Register: Principal
          Mark Type: Service Mark
              Status: Notice of Allowance (NOA) sent (issued) to the applicant. Applicant must file a Statement of Use or Extension Request within six
                      months of the NOA issuance date.
        Status Date: Jan. 31, 2017
   Publication Date: Dec. 06, 2016                                                        Notice of Jan. 31, 2017
                                                                                    Allowance Date:



                                                                 Mark Information
         Mark Literal ONEUP TRADER
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
         Disclaimer: "TRADER"

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Personnel placement and recruiting services, namely, scouting and evaluation of traders for financial instruments trading positions and
                      placing traders in a simulated environment to trade various financial instruments to determine trading performance skills
        International 035 - Primary Class                                             U.S Class(es): 100, 101, 102
           Class(es):
       Class Status: ACTIVE
               Basis: 1(b)

                                                     Basis Information (Case Level)
               Filed Use: No                                       Currently Use: No                                         Amended Use: No
               Filed ITU: Yes                                      Currently ITU: Yes                                        Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No

                                                     Current Owner(s) Information
       Owner Name: OneUp Trader Ltd
    Owner Address: Mel, Metaxaki, 1A
                   Limassol 3100
                   CYPRUS
  Legal Entity Type: CORPORATION                                                   State or Country CYPRUS
                 Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 3 of 41 PageID #:259

                                                                     Where Organized:

                                       Attorney/Correspondence Information
                                                          Attorney of Record - None
                                                                Correspondent
      Correspondent SATTAM ALSABAH
      Name/Address: ONEUP TRADER LTD
                    MEL, METAXAKI, 1A
                    LIMASSOL 3100
                    CYPRUS
                Phone: 0035725725666
   Correspondent e- info@oneuptrader.com                             Correspondent e- Yes
              mail:                                                   mail Authorized:
                                                    Domestic Representative - Not Found

                                                    Prosecution History
                                                                                                          Proceeding
   Date              Description
                                                                                                          Number
Jan. 31, 2017     NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Dec. 06, 2016     OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Dec. 06, 2016     PUBLISHED FOR OPPOSITION
Nov. 16, 2016     NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Nov. 03, 2016     LAW OFFICE PUBLICATION REVIEW COMPLETED                                               73797
Oct. 30, 2016     ASSIGNED TO LIE                                                                       73797
Oct. 18, 2016     APPROVED FOR PUB - PRINCIPAL REGISTER
Oct. 17, 2016     TEAS/EMAIL CORRESPONDENCE ENTERED                                                     88889
Oct. 17, 2016     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 88889
Oct. 17, 2016     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Oct. 17, 2016     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Oct. 17, 2016     NON-FINAL ACTION E-MAILED                                                             6325
Oct. 17, 2016     NON-FINAL ACTION WRITTEN                                                              88578
Oct. 11, 2016     ASSIGNED TO EXAMINER                                                                  88578
Jul. 07, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Jul. 05, 2016     NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
          TM Attorney: KUYKENDALL, LYNDSEY                                  Law Office LAW OFFICE 124
                                                                            Assigned:
                                                                 File Location
   Current Location: INTENT TO USE SECTION                            Date in Location: Jan. 31, 2017
                   Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 4 of 41 PageID #:260



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, January 31, 2017 00:09 AM
To:                        info@oneuptrader.com
Subject:                   Official USPTO Notice of Allowance: U.S. Trademark SN 87091783: ONEUP TRADER



                                                                         NOTICE OF ALLOWANCE (NOA)

                                                                             ISSUE DATE: Jan 31, 2017

U.S. Serial Number: 87091783
Mark: ONEUP TRADER
Docket/Reference Number:

No opposition was filed for this published application. The issue date of this NOA establishes the due date for the filing of a Statement of Use (SOU) or a Request
for Extension of Time to file a Statement of Use (Extension Request). WARNING: An SOU that meets all legal requirements must be filed before a registration
certificate can issue. Please read below for important information regarding the applicant's pending six (6) month deadline.

SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from the NOA issue date to file either:
  - An SOU, if the applicant is using the mark in commerce (required even if the applicant was using the mark at the time of filing the application, if use basis was not
     specified originally); OR
  - An Extension Request, if the applicant is not yet using the mark in commerce. If an Extension Request is filed, a new request must be filed every six (6)
     months until the SOU is filed. The applicant may file a total of five (5) extension requests. WARNING: An SOU may not be filed more than thirty-six (36) months from
     when the NOA issued. The deadline for filing is always calculated from the issue date of the NOA.

How to file SOU and/or Extension Request:
Use the Trademark Electronic Application System (TEAS). Do NOT reply to this e-mail, as e-mailed filings will NOT be processed. Both the SOU and Extension Request have
many legal requirements, including fees and verified statements; therefore, please use the USPTO forms available online at https://www.uspto.gov/trademarks-application-
process/filing-online (under the "INTENT-TO-USE (ITU) FORMS" category) to avoid the possible omission of required information. If you have questions about this notice,
please contact the Trademark Assistance Center at 1-800-786-9199.

For information on how to (1) divide an application; (2) delete goods/services (or entire class) with a Section 1(b) basis; or (3) change filing basis, see
https://www.uspto.gov/trademarks-getting-started/process-overview/additional-information-post-notice-allowance-process.

FAILURE TO FILE A REQUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF THIS
APPLICATION.

                                                            REVIEW APPLICATION INFORMATION FOR ACCURACY

If you believe this NOA should not have issued or correction of the information shown below is needed, you must submit a request to the Intent-to-Use Unit. Please use the
"Post-Publication Amendment" form under the "POST-APPROVAL/PUBLICATION/POST NOTICE OF ALLOWANCE (NOA) AMENDMENT FORMS" category, available at
https://www.uspto.gov/trademarks-application-process/filing-online/post-approvalpublicationpost-notice-allowance-noa. Do NOT reply to this e-mail, as e-mailed filings will NOT
be processed.

Serial Number:                                                  87091783
Mark:                                                           ONEUP TRADER
Docket/Reference Number:
Owner:                                                          OneUp Trader Ltd
                                                                Mel, Metaxaki, 1A
                                                                Limassol , CYPRUS 3100
Correspondence Address:                                         SATTAM ALSABAH; ONEUP TRADER LTD
                                                                MEL, METAXAKI, 1A
                                                                LIMASSOL
                                                                3100
                                                                CYPRUS

This application has the following bases, but not necessarily for all listed goods/services:
        Section 1(a): NO                          Section 1(b): YES                          Section 44(e): NO

                                                                GOODS/SERVICES BY INTERNATIONAL CLASS

035 -          Personnel placement and recruiting services, namely, scouting and evaluation of traders for financial instruments trading positions and placing traders in a
               simulated environment to trade various financial instruments to determine trading performance skills -- FIRST USE DATE: NONE; -- USE IN COMMERCE
               DATE: NONE

                                                           ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED.



Appropriate Specimens for Goods and/or Services: A trademark specimen should be a label, tag, or container for the goods, or a display associated with the goods. See
TMEP §§904.03 et seq. A service mark specimen should be an advertisement, sign, brochure, website printout or other image that shows the mark used in the actual sale or
advertising of the services. See TMEP §§1301.04 et seq. For an instructional video on what is an appropriate trademark or service mark specimen for a good and/or service,
click here.

Fraudulent statements may result in registration being cancelled: Applicants must ensure that statements made in filings to the USPTO are accurate, as inaccuracies may
result in the cancellation of any issued trademark registration. The lack of a bona fide intention to use the mark with ALL goods and/or services listed in an application or the
lack of actual use on all goods and/or services for which use is claimed could jeopardize the validity of the registration, possibly resulting in its cancellation.
                  Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 5 of 41 PageID #:261

Additional information: For information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the USPTO
website at https://www.uspto.gov or call the Trademark Assistance Center at 1-800-786-9199.

Checking status: To check the status of this application, go to
https://tsdr.uspto.gov/#caseNumber=87091783&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of any application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=87091783&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.
                   Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 6 of 41 PageID #:262



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, December 6, 2016 00:51 AM
To:                        info@oneuptrader.com
Subject:                   Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 87091783: ONEUP TRADER


                                         TRADEMARK OFFICIAL GAZETTE PUBLICATION CONFIRMATION
U.S. Serial Number: 87091783
Mark: ONEUP TRADER
International Class(es): 035
Owner: OneUp Trader Ltd
Docket/Reference Number:

The mark identified above has been published in the Trademark Official Gazette (TMOG) on Dec 06, 2016.

To Review the Mark in the TMOG:

     Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2016-12-06&serialNumber=87091783

On the publication date or shortly thereafter, the applicant should carefully review the information that appears in the TMOG for accuracy. If any information is incorrect due to
USPTO error, the applicant should immediately email the requested correction to TMPostPubQuery@uspto.gov. For applicant corrections or amendments after publication,
please file a post publication amendment using the form available at http://teasroa.uspto.gov/ppa/. For general information about this notice, please contact the Trademark
Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition:

 *    Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal
      Board. If no party files an opposition or extension request within thirty (30) days after the publication date, then eleven (11) weeks after the publication date a notice of
      allowance (NOA) should issue. (Note: The applicant must file a complete Statement of Use or Extension Request with the required fees within six (6) months after the
      NOA issues to avoid abandonment of the application.)

To check the status of the application, go to http://tsdr.uspto.gov/#caseNumber=87091783&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of the application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=87091783&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.
                   Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 7 of 41 PageID #:263



                         UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                    Commissioner for Trademarks
                                                                                                                                                                  P.O. Box 1451
                                                                                                                                                     Alexandria, VA 22313-1451
                                                                                                                                                                  www.uspto.gov

                                                                               Nov 16, 2016

                                                                   NOTICE OF PUBLICATION
1.   Serial No.:                                                                        2.    Mark:
     87-091,783                                                                               ONEUP TRADER
                                                                                              (STANDARD CHARACTER MARK)

3.   International Class(es):
     35

4.   Publication Date:                                                                  5.    Applicant:
     Dec 6, 2016                                                                              OneUp Trader Ltd



The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of the Trademark Act of 1946, as amended, be
published in the Official Gazette on the date indicated above for the purpose of opposition by any person who believes he will be damaged by the registration of the mark. If no
opposition is filed within the time specified by Section 13(a) of the Statute or by rules 2.101 or 2.102 of the Trademark Rules, the Commissioner of Patents and Trademarks may
issue a notice of allowance pursuant to section 13(b) of the Statute.

Copies of the trademark portion of the Official Gazette containing the publication of the mark may be obtained from:
                                                               The Superintendent of Documents
                                                               U.S. Government Printing Office
                                                               PO Box 371954
                                                               Pittsburgh, PA 15250-7954
                                                               Phone: 202-512-1800

By direction of the Commissioner.




              Email Address(es):

              info@oneuptrader.com
                   Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 8 of 41 PageID #:264



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Wednesday, November 16, 2016 04:16 AM
To:                        info@oneuptrader.com
Subject:                   Official USPTO Notification of Notice of Publication: U.S. Trademark SN 87091783: ONEUP TRADER

                                                               NOTIFICATION OF "NOTICE OF PUBLICATION"

Your trademark application (Serial No. 87091783) is scheduled to publish in the Official Gazette on Dec 6, 2016 . To preview the Notice of Publication, go to
http://tdr.uspto.gov/search.action?sn=87091783. If you have difficulty accessing the Notice of Publication, contact TDR@uspto.gov.

PLEASE NOTE:
 1.  The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
 2.  You will receive a second e-mail on the actual "Publication Date," which will include a link to the issue of the Official Gazette in which the mark has published.

Do NOT hit "Reply" to this e-mail notification. If you have any questions about the content of the Notice of Publication, contact TMPostPubQuery@uspto.gov.
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 9 of 41 PageID #:265


                                     Trademark Snap Shot Publication & Issue Review Stylesheet
                                         (Table presents the data on Publication & Issue Review Complete)



                                                                OVERVIEW
SERIAL NUMBER                                  87091783                   FILING DATE                                07/01/2016

REG NUMBER                                      0000000                   REG DATE                                      N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                                SERVICE MARK

INTL REG #                                            N/A                 INTL REG DATE                                 N/A

TM ATTORNEY                             KUYKENDALL, LYNDSEY               L.O. ASSIGNED                                 102



                                                            PUB INFORMATION
RUN DATE                         11/04/2016

PUB DATE                         12/06/2016

STATUS                           681-PUBLICATION/ISSUE REVIEW COMPLETE

STATUS DATE                      11/03/2016

LITERAL MARK ELEMENT             ONEUP TRADER


DATE ABANDONED                                        N/A                 DATE CANCELLED                                N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                            NO

SECTION 8                                             NO                  SECTION 8 IN PART                             NO

SECTION 15                                            NO                  REPUB 12C                                     N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                 AMENDED BASIS

1 (a)                          NO             1 (a)                                  NO               1 (a)                   NO

1 (b)                          YES            1 (b)                                 YES               1 (b)                   NO

44D                            NO             44D                                    NO               44D                     NO

44E                            NO             44E                                    NO               44E                     NO

66A                            NO             66A                                    NO

NO BASIS                       NO             NO BASIS                               NO



                                                               MARK DATA
STANDARD CHARACTER MARK                                                   YES

LITERAL MARK ELEMENT                                                      ONEUP TRADER

MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                        NO



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                10-ORIGINAL APPLICANT

NAME                                                                      OneUp Trader Ltd

ADDRESS                                                                   Mel, Metaxaki, 1A
                                                                          Limassol, 3100

ENTITY                                                                    03-CORPORATION
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 10 of 41 PageID #:266

CITIZENSHIP                                                      Cyprus



                                                  GOODS AND SERVICES
INTERNATIONAL CLASS                                              035

       DESCRIPTION TEXT                                          Personnel placement and recruiting services, namely, scouting and evaluation of
                                                                 traders for financial instruments trading positions and placing traders in a simulated
                                                                 environment to trade various financial instruments to determine trading performance
                                                                 skills




                                        GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     035          FIRST USE DATE   NONE             FIRST USE IN          NONE                  CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                     MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                           NO

DISCLAIMER W/PREDETER TXT                                        "TRADER"



                                                  PROSECUTION HISTORY
DATE                        ENT CD     ENT TYPE    DESCRIPTION                                                                            ENT NUM

11/03/2016                  PREV          O        LAW OFFICE PUBLICATION REVIEW COMPLETED                                                    012

10/30/2016                   ALIE         A        ASSIGNED TO LIE                                                                            011

10/18/2016                  CNSA          P        APPROVED FOR PUB - PRINCIPAL REGISTER                                                      010

10/17/2016                  TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                          009

10/17/2016                  CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                      008

10/17/2016                  TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                    007

10/17/2016                  GNRN          O        NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                  006

10/17/2016                  GNRT          F        NON-FINAL ACTION E-MAILED                                                                  005

10/17/2016                  CNRT          R        NON-FINAL ACTION WRITTEN                                                                   004

10/11/2016                  DOCK          D        ASSIGNED TO EXAMINER                                                                       003

07/07/2016                  NWOS           I       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                       002

07/05/2016                  NWAP           I       NEW APPLICATION ENTERED IN TRAM                                                            001



                                     CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                         NONE

CORRESPONDENCE ADDRESS                                           SATTAM ALSABAH; ONEUP TRADER LTD
                                                                 MEL, METAXAKI, 1A
                                                                 LIMASSOL
                                                                 3100
                                                                 CYPRUS

DOMESTIC REPRESENTATIVE                                          NONE
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 11 of 41 PageID #:267
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 12 of 41 PageID #:268


                                              Trademark Snap Shot Publication Stylesheet
                                                 (Table presents the data on Publication Approval)



                                                                OVERVIEW
SERIAL NUMBER                                  87091783                   FILING DATE                               07/01/2016

REG NUMBER                                      0000000                   REG DATE                                     N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                               SERVICE MARK

INTL REG #                                            N/A                 INTL REG DATE                                N/A

TM ATTORNEY                            KUYKENDALL, LYNDSEY                L.O. ASSIGNED                                102



                                                            PUB INFORMATION
RUN DATE                         10/19/2016

PUB DATE                         N/A

STATUS                           680-APPROVED FOR PUBLICATON

STATUS DATE                      10/18/2016

LITERAL MARK ELEMENT             ONEUP TRADER


DATE ABANDONED                                        N/A                 DATE CANCELLED                               N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                           NO

SECTION 8                                             NO                  SECTION 8 IN PART                            NO

SECTION 15                                            NO                  REPUB 12C                                    N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                 N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                   NO             1 (a)                   NO

1 (b)                          YES            1 (b)                                  YES             1 (b)                   NO

44D                            NO             44D                                     NO             44D                     NO

44E                            NO             44E                                     NO             44E                     NO

66A                            NO             66A                                     NO

NO BASIS                       NO             NO BASIS                                NO



                                                                MARK DATA
STANDARD CHARACTER MARK                                                   YES

LITERAL MARK ELEMENT                                                      ONEUP TRADER

MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                        NO



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                                10-ORIGINAL APPLICANT

NAME                                                                      OneUp Trader Ltd

ADDRESS                                                                   Mel, Metaxaki, 1A
                                                                          Limassol, 3100

ENTITY                                                                    03-CORPORATION
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 13 of 41 PageID #:269

CITIZENSHIP                                                      Cyprus



                                                  GOODS AND SERVICES
INTERNATIONAL CLASS                                              035

       DESCRIPTION TEXT                                          Personnel placement and recruiting services, namely, scouting and evaluation of
                                                                 traders for financial instruments trading positions and placing traders in a simulated
                                                                 environment to trade various financial instruments to determine trading performance
                                                                 skills




                                        GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     035          FIRST USE DATE   NONE             FIRST USE IN          NONE                  CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                     MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                           NO

DISCLAIMER W/PREDETER TXT                                        "TRADER"



                                                  PROSECUTION HISTORY
DATE                        ENT CD     ENT TYPE    DESCRIPTION                                                                            ENT NUM

10/18/2016                  CNSA          P        APPROVED FOR PUB - PRINCIPAL REGISTER                                                      010

10/17/2016                  TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                          009

10/17/2016                  CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                      008

10/17/2016                  TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                    007

10/17/2016                  GNRN          O        NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                  006

10/17/2016                  GNRT          F        NON-FINAL ACTION E-MAILED                                                                  005

10/17/2016                  CNRT          R        NON-FINAL ACTION WRITTEN                                                                   004

10/11/2016                  DOCK          D        ASSIGNED TO EXAMINER                                                                       003

07/07/2016                  NWOS           I       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                       002

07/05/2016                  NWAP           I       NEW APPLICATION ENTERED IN TRAM                                                            001



                                     CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                         NONE

CORRESPONDENCE ADDRESS                                           SATTAM ALSABAH; ONEUP TRADER LTD
                                                                 MEL, METAXAKI, 1A
                                                                 LIMASSOL
                                                                 3100
                                                                 CYPRUS

DOMESTIC REPRESENTATIVE                                          NONE
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 14 of 41 PageID #:270
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 15 of 41 PageID #:271


                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                        (Table presents the data on Amendment & Mail Processing Complete)



                                                                OVERVIEW
SERIAL NUMBER                                  87091783                  FILING DATE                                07/01/2016

REG NUMBER                                      0000000                  REG DATE                                      N/A

REGISTER                                      PRINCIPAL                  MARK TYPE                                SERVICE MARK

INTL REG #                                            N/A                INTL REG DATE                                 N/A

TM ATTORNEY                             KUYKENDALL, LYNDSEY              L.O. ASSIGNED                                 102



                                                            PUB INFORMATION
RUN DATE                         10/18/2016

PUB DATE                         N/A

STATUS                           661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                      10/17/2016

LITERAL MARK ELEMENT             ONEUP TRADER


DATE ABANDONED                                        N/A                DATE CANCELLED                                N/A

SECTION 2F                                            NO                 SECTION 2F IN PART                            NO

SECTION 8                                             NO                 SECTION 8 IN PART                             NO

SECTION 15                                            NO                 REPUB 12C                                     N/A

RENEWAL FILED                                         NO                 RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS
                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                 NO               1 (a)                   NO

1 (b)                          YES            1 (b)                                 YES              1 (b)                   NO

44D                            NO             44D                                   NO               44D                     NO

44E                            NO             44E                                   NO               44E                     NO

66A                            NO             66A                                   NO

NO BASIS                       NO             NO BASIS                              NO



                                                               MARK DATA
STANDARD CHARACTER MARK                                                  YES

LITERAL MARK ELEMENT                                                     ONEUP TRADER

MARK DRAWING CODE                                                        4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                       NO



                                                 CURRENT OWNER INFORMATION
PARTY TYPE                                                               10-ORIGINAL APPLICANT

NAME                                                                     OneUp Trader Ltd

ADDRESS                                                                  Mel, Metaxaki, 1A
                                                                         Limassol, 3100

ENTITY                                                                   03-CORPORATION
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 16 of 41 PageID #:272

CITIZENSHIP                                                      Cyprus



                                                  GOODS AND SERVICES
INTERNATIONAL CLASS                                              035

       DESCRIPTION TEXT                                          Personnel placement and recruiting services, namely, scouting and evaluation of
                                                                 traders for financial instruments trading positions and placing traders in a simulated
                                                                 environment to trade various financial instruments to determine trading performance
                                                                 skills




                                        GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     035          FIRST USE DATE   NONE             FIRST USE IN          NONE                  CLASS STATUS          6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                     MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                           NO

DISCLAIMER W/PREDETER TXT                                        "TRADER"



                                                  PROSECUTION HISTORY
DATE                        ENT CD     ENT TYPE    DESCRIPTION                                                                            ENT NUM

10/17/2016                  TEME           I       TEAS/EMAIL CORRESPONDENCE ENTERED                                                          009

10/17/2016                  CRFA           I       CORRESPONDENCE RECEIVED IN LAW OFFICE                                                      008

10/17/2016                  TROA           I       TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                    007

10/17/2016                  GNRN          O        NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                  006

10/17/2016                  GNRT          F        NON-FINAL ACTION E-MAILED                                                                  005

10/17/2016                  CNRT          R        NON-FINAL ACTION WRITTEN                                                                   004

10/11/2016                  DOCK          D        ASSIGNED TO EXAMINER                                                                       003

07/07/2016                  NWOS           I       NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                       002

07/05/2016                  NWAP           I       NEW APPLICATION ENTERED IN TRAM                                                            001



                                     CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                         NONE

CORRESPONDENCE ADDRESS                                           SATTAM ALSABAH; ONEUP TRADER LTD
                                                                 MEL, METAXAKI, 1A
                                                                 LIMASSOL
                                                                 3100
                                                                 CYPRUS

DOMESTIC REPRESENTATIVE                                          NONE
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 17 of 41 PageID #:273
                       Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 18 of 41 PageID #:274


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PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         87091783
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 102
 MARK SECTION
 MARK                                                                  http://tmng-al.uspto.gov/resting2/api/img/87091783/large
 LITERAL ELEMENT                                                       ONEUP TRADER
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 ADDITIONAL STATEMENTS SECTION
                                                                       No claim is made to the exclusive right to use "TRADER" apart from the mark as
 DISCLAIMER
                                                                       shown.
 SIGNATURE SECTION
 RESPONSE SIGNATURE                                                    /SATTAM ALSABAH/
 SIGNATORY'S NAME                                                      SATTAM ALSABAH
 SIGNATORY'S POSITION                                                  DIRECTOR
 DATE SIGNED                                                           10/17/2016
 AUTHORIZED SIGNATORY                                                  YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                                           Mon Oct 17 13:30:44 EDT 2016
                                                                       USPTO/ROA-XX.XXX.XXX.XX-2
                                                                       0161017133044778884-87091
                                                                       783-57063c1b3bc9559ad66f2
 TEAS STAMP
                                                                       4057be3dafca6540c14fb8fc3
                                                                       24af6f2bfe4d851e5-N/A-N/A
                                                                       -20161017132836890770




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PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)




                                                                   Response to Office Action
To the Commissioner for Trademarks:
Application serial no. 87091783 ONEUP TRADER(Standard Characters, see http://tmng-al.uspto.gov/resting2/api/img/87091783/large) has been
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 19 of 41 PageID #:275


amended as follows:

ADDITIONAL STATEMENTS
Disclaimer
No claim is made to the exclusive right to use "TRADER" apart from the mark as shown.


SIGNATURE(S)
Response Signature
Signature: /SATTAM ALSABAH/ Date: 10/17/2016
Signatory's Name: SATTAM ALSABAH
Signatory's Position: DIRECTOR

The signatory has confirmed that he/she is not represented by either an authorized attorney or Canadian attorney/agent, and that he/she is either:
(1) the owner/holder ; or (2) a person(s) with legal authority to bind the owner/holder; and if an authorized U.S. attorney or Canadian
attorney/agent previously represented him/her in this matter, either he/she has filed a signed revocation of power of attorney with the USPTO or
the USPTO has granted the request of his/her prior representative to withdraw.


Serial Number: 87091783
Internet Transmission Date: Mon Oct 17 13:30:44 EDT 2016
TEAS Stamp: USPTO/ROA-XX.XXX.XXX.XX-2016101713304477
8884-87091783-57063c1b3bc9559ad66f24057b
e3dafca6540c14fb8fc324af6f2bfe4d851e5-N/
A-N/A-20161017132836890770
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 20 of 41 PageID #:276


To:                  OneUp Trader Ltd (info@oneuptrader.com)
Subject:             U.S. TRADEMARK APPLICATION NO. 87091783 - ONEUP TRADER - N/A
Sent:                10/17/2016 11:45:37 AM
Sent As:             ECOM102@USPTO.GOV
Attachments:         Attachment - 1
                     Attachment - 2
                     Attachment - 3
                     Attachment - 4
                     Attachment - 5
                     Attachment - 6
                     Attachment - 7
                     Attachment - 8
                     Attachment - 9
                     Attachment - 10

                                  UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                        OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

        U.S. APPLICATION SERIAL NO. 87091783

        MARK: ONEUP TRADER
                                                                         *87091783*
        CORRESPONDENT ADDRESS:
          SATTAM ALSABAH; ONEUP TRADER LTD                               CLICK HERE TO RESPOND TO THIS LETTER:
          MEL, METAXAKI, 1A                                              http://www.uspto.gov/trademarks/teas/response_forms.jsp
          LIMASSOL
          3100                                                            VIEW YOUR APPLICATION FILE
          CYPRUS
        APPLICANT: OneUp Trader Ltd

        CORRESPONDENT’S REFERENCE/DOCKET NO :
          N/A
        CORRESPONDENT E-MAIL ADDRESS:
          info@oneuptrader.com



                                                          OFFICE ACTION

                                  STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 10/17/2016


The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.


Search Results - No Conflicting Marks Found

The trademark examining attorney has searched the Office’s database of registered and pending marks and has found no conflicting marks that
would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).


Disclaimer
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 21 of 41 PageID #:277



Applicant must disclaim the wording “TRADER” because it merely describes an ingredient, quality, characteristic, function, feature, purpose,
or use of applicant’s goods and/or services, and thus is an unregistrable component of the mark. See 15 U.S.C. §§1052(e)(1), 1056(a);
DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012) (quoting In re
Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213, 1213.03(a).

The attached evidence from the Merriam-Webster Dictionary Online shows this wording means “a person who buys and sells (as stocks or
commodities futures) in search of short-term profits.” Applicant offers placement services for traders. Therefore, the wording merely describes
whom the services are for.

An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc. , 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.

If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).

Applicant should submit a disclaimer in the following standardized format:

       No claim is made to the exclusive right to use “TRADER” apart from the mark as shown.

For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.


Assistance

Applicant is encouraged to e-mail the assigned trademark examining attorney to resolve the issues raised in this Office action by
examiner’s amendment. Although the USPTO will not accept a formal response by e-mail, an applicant may communicate informally by
phone or e-mail with the trademark examining attorney to agree to a proposed amendment to the application that will immediately place the
application in condition for publication for opposition, issuance of a registration, or suspension. See 37 C.F.R. §2.62(c); TMEP §707.

For this application to proceed further, applicant must explicitly address each refusal and/or requirement raised in this Office action. If the
action includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should
register. Applicant may also have other options for responding to a refusal and should consider such options carefully. To respond to
requirements and certain refusal response options, applicant should set forth in writing the required changes or statements. For more
information and general tips on responding to USPTO Office actions, response options, and how to file a response online, see “ Responding to
Office Actions” on the USPTO’s website.

If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end and the trademark will fail to register. See 15 U.S.C. §1062(b); 37 C.F.R. §§2.65(a), 2.68(a); TMEP
§§718.01, 718.02. Additionally, the USPTO will not refund the application filing fee, which is a required processing fee. See 37 C.F.R.
§§2.6(a)(1)(i)-(iv), 2.209(a); TMEP §405.04.

Where the application has been abandoned for failure to respond to an Office action, applicant’s only option would be to file a timely petition to
revive the application, which, if granted, would allow the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. There is a
$100 fee for such petitions. See 37 C.F.R. §§2.6, 2.66(b)(1).

All relevant e-mail communications will be placed in the official application record; however, an e-mail communication will not be accepted as a
response to this Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §2.191; TMEP §§304.01-.02, 709.04-
.05. Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in
this Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.



TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application
online using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to
               Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 22 of 41 PageID #:278


Office actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address;
and (3) agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b),
2.23(b); TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of
$50 per international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain
situations, TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without
incurring this additional fee.



                                                /Lyndsey Kuykendall, Esq./
                                                Examining Attorney
                                                Law Office 102
                                                571-272-5995
                                                Lyndsey.Kuykendall@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
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Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 24 of 41 PageID #:280
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 25 of 41 PageID #:281
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 26 of 41 PageID #:282
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 27 of 41 PageID #:283
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 28 of 41 PageID #:284
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 29 of 41 PageID #:285
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 30 of 41 PageID #:286
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 31 of 41 PageID #:287
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 32 of 41 PageID #:288
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 33 of 41 PageID #:289


To:                   OneUp Trader Ltd (info@oneuptrader.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87091783 - ONEUP TRADER - N/A
Sent:                 10/17/2016 11:45:38 AM
Sent As:              ECOM102@USPTO.GOV
Attachments:

                           UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                     IMPORTANT NOTICE REGARDING YOUR
                                        U.S. TRADEMARK APPLICATION

                                USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                               ON 10/17/2016 FOR U.S. APPLICATION SERIAL NO. 87091783

Your trademark application has been reviewed. The trademark examining attorney assigned by the USPTO to your application has written an
official letter to which you must respond. Please follow these steps:

(1) READ THE LETTER by clicking on this link or going to http://tsdr.uspto.gov/, entering your U.S. application serial number, and clicking
on “Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) RESPOND WITHIN 6 MONTHS (or sooner if specified in the Office action), calculated from 10/17/2016, using the Trademark Electronic
Application System (TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions.

(3) QUESTIONS about the contents of the Office action itself should be directed to the trademark examining attorney who reviewed your
application, identified below.

/Lyndsey Kuykendall, Esq./
Examining Attorney
Law Office 102
571-272-5995
Lyndsey.Kuykendall@uspto.gov



                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 34 of 41 PageID #:290


private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
                 Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 35 of 41 PageID #:291


*** User:lkuykendal ***
#     Total           Dead              Live     Live     Status/    Search
       Marks           Marks            Viewed   Viewed   Search
                                        Docs     Images   Duration
01     51820           N/A              0        0        0:01       *one* [BI,TI] not dead[LD]
02     6458            N/A              0        0        0:02       "1" [BI,TI] not dead[LD]
03     48867           N/A              0        0        0:03       *up* [BI,TI] not dead[LD]
04     6488            N/A              0        0        0:02       *trad* [BI,TI] not dead[LD]
05     17              0                17       17       0:01       (1 2) and 3 and 4
06     992             N/A              0        0        0:01       (1 2) and 3
07     192             0                192      188      0:01       (1 2 ) and 4
08     164             0                164      154      0:01       3 and 4
09     562             N/A              0        0        0:01       6 and "035" [cc]
10     453             N/A              0        0        0:02       ("one" "1" ) [BI,TI] not dead[LD] and 3
11     258             0                258      247      0:01       10 and "035" [cc]
12     3               0                3        3        0:01       5 and (a b 200 "035") [ic]
13     198             0                198      189      0:02       6 and (a b 200 "035") [ic]
14     28              0                28       27       0:01       7 and (a b 200 "035") [ic]
15     57              N/A              0        0        0:01       8 and (a b 200 "035") [ic]

Session started 10/13/2016 2:53:15 PM
Session finished 10/13/2016 4:50:56 PM
Total search duration 0 minutes 21 seconds
Session duration 117 minutes 41 seconds
Defaut NEAR limit=1ADJ limit=1



Sent to TICRS as Serial Number: 87091783
Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 36 of 41 PageID #:292
                       Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 37 of 41 PageID #:293


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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 87091783
                                                                       Filing Date: 07/01/2016


                                                     The table below presents the data as entered.

                                          Input Field                                                                    Entered
             SERIAL NUMBER                                                              87091783
             MARK INFORMATION
             *MARK                                                                      ONEUP TRADER
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            ONEUP TRADER
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font, style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             OneUp Trader Ltd
             *STREET                                                                    Mel, Metaxaki, 1A
             *CITY                                                                      Limassol
             *COUNTRY                                                                   Cyprus
             *ZIP/POSTAL CODE
             (Required for U.S. applicants)
                                                                                        3100

             PHONE                                                                      0035725725666
             EMAIL ADDRESS                                                              info@oneuptrader.com
             AUTHORIZED TO COMMUNICATE VIA EMAIL                                        Yes
             LEGAL ENTITY INFORMATION
             TYPE                                                                       corporation
             STATE/COUNTRY OF INCORPORATION                                             Cyprus
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        035
                                                                                        Personnel placement and recruiting services, namely, scouting
                                                                                        and evaluation of traders for financial instruments trading
             *IDENTIFICATION                                                            positions and placing traders in a simulated environment to
                                                                                        trade various financial instruments to determine trading
                                                                                        performance skills.
             FILING BASIS                                                               SECTION 1(b)
             CORRESPONDENCE INFORMATION
             NAME                                                                       Sattam Alsabah
       Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 38 of 41 PageID #:294


FIRM NAME                                     OneUp Trader Ltd
STREET                                        Mel, Metaxaki, 1A
CITY                                          Limassol
COUNTRY                                       Cyprus
ZIP/POSTAL CODE                               3100
PHONE                                         0035725725666
*EMAIL ADDRESS                                info@oneuptrader.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL          Yes
FEE INFORMATION
APPLICATION FILING OPTION                     TEAS RF
NUMBER OF CLASSES                             1
FEE PER CLASS                                 275
*TOTAL FEE DUE                                275
*TOTAL FEE PAID                               275
SIGNATURE INFORMATION
SIGNATURE                                     /sattam alsabah/
SIGNATORY'S NAME                              Sattam Alsabah
SIGNATORY'S POSITION                          President
SIGNATORY'S PHONE NUMBER                      0035725725666
DATE SIGNED                                   07/01/2016
                       Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 39 of 41 PageID #:295


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 87091783
                                                                       Filing Date: 07/01/2016
To the Commissioner for Trademarks:
MARK: ONEUP TRADER (Standard Characters, see mark)
The literal element of the mark consists of ONEUP TRADER.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, OneUp Trader Ltd, a corporation of Cyprus, having an address of
   Mel, Metaxaki, 1A
   Limassol 3100
   Cyprus
   0035725725666(phone)
   info@oneuptrader.com

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

     International Class 035: Personnel placement and recruiting services, namely, scouting and evaluation of traders for financial instruments
trading positions and placing traders in a simulated environment to trade various financial instruments to determine trading performance skills.
Intent to Use: The applicant has a bona fide intention, and is entitled, to use the mark in commerce on or in connection with the identified
goods/services.

The applicant's current Correspondence Information:
     Sattam Alsabah
     OneUp Trader Ltd
     Mel, Metaxaki, 1A
     Limassol 3100, Cyprus
     0035725725666(phone)
     info@oneuptrader.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of $50 per international class of goods/services.

A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).

                                                                               Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant is entitled to use the mark in commerce; the applicant has a
bona fide intention, and is entitled, to use the mark in commerce on or in connection with the goods/services in the application. The signatory
believes that to the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services
of such other persons, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and the like are
punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the
validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are true and all
statements made on information and belief are believed to be true.

Declaration Signature
              Case: 1:17-cv-04412 Document #: 8-9 Filed: 06/20/17 Page 40 of 41 PageID #:296


Signature: /sattam alsabah/ Date: 07/01/2016
Signatory's Name: Sattam Alsabah
Signatory's Position: President
RAM Sale Number: 87091783
RAM Accounting Date: 07/05/2016

Serial Number: 87091783
Internet Transmission Date: Fri Jul 01 19:34:29 EDT 2016
TEAS Stamp: USPTO/BAS-XX.XXX.XXX.XX-2016070119342920
7125-87091783-55083d54e15341ebfe9cedeb9b
c6a1ef3329d8850c4f11727f70b051a2384b399-
CC-5765-20160701135210332754
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